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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                  )
 8                                                )     No. CR-05-126-RHW-11
                        Plaintiff,                )
 9                                                )     ORDER DENYING DEFENDANT’S
       v.                                         )     MOTION FOR RELEASE
10                                                )
       ASCENCION ALVEREZ-TEJADA,                  )
11                                                )
                        Defendant.                )
12                                                )

13          At the May 4, 2006, hearing on Defendant’s Motion to revisit

14    detention (Ct. Rec. 811), counsel James Egan represented Defendant;

15    Assistant U.S. Attorney Russell Smoot represented the United States.

16    Defendant’s Motion was premised on the fact certain evidence had

17    been suppressed in the captioned matter, with the result that the

18    strength of evidence against Defendant, should this matter go to

19    trial, is significantly less than at the time he originally waived

20    his right to an early detention hearing.                    As discussed at the

21    hearing, the questions of derivative citizenship does not apply to

22    Defendant, since he was over 18 years of age when he entered the

23    United States. The undersigned took the matter under advisement and

24    directed preparation of a Supplemental Pretrial Services Report.

25    Specifically,     as     discussed     at       the   hearing,   in   addition     to

26    understanding Defendant’s residence plan in the United States, it is

27    important to understand his residence plan in Mexico, if deported

28    prior to trial, and the ability for the court to contact Defendant

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 1    while waiting to be paroled into the United States for the lawful
 2    purpose of attending court appearances in this district.
 3           On May 19, 2006, a Supplemental Pretrial Services Report was
 4    received, and that Report also simultaneously was served on the
 5    parties.       No additional responses have been received from the
 6    parties.    While Defendant has family ties and a residence plan in
 7    Hermiston, Oregon, no verified residence plan has been presented
 8    with respect to any time he may be required to spend in Mexico,
 9    while awaiting re-entry into the United States.                    Accordingly, at
10    this   time,    the   undersigned      is   unable       to   conclude   there   is   a
11    combination of conditions to reasonably assure that Defendant is not
12    a risk of non-appearance.        The Motion (Ct. Rec. 811) must be and is
13    DENIED.
14           IT IS SO ORDERED.
15           DATED May 24, 2006.
16
17                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT’S MOTION FOR RELEASE - 2
